                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                               DOCKET NO. 3:95-CR-5-15-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )               MEMORANDUM
 DARRYL A. HARRIS,                                 )                OF DECISION
                                                   )
                 Defendant.                        )
                                                   )

       In this matter before the Court for a reduction of sentence pursuant to 18 U.S.C.§ 3582(c)(2)

and Amendment 706 of the U.S.S.G. (made retroactive by Amendment 713), the Court makes the

following findings and conclusions:

1.     Defendant is eligible for a sentence reduction to a period of confinement equal to 292 months

for the reasons set forth in the Supplement to the Presentence Report.

2.     In the case of a defendant who has been sentenced to a term of imprisonment “based on a

sentencing range that has subsequently been lowered by the Sentencing Commission,” 18

U.S.C. § 3582(c)(2) provides that the Court may reduce the term of imprisonment “after considering

the factors set forth in section 3553(a) to the extent they are applicable” and if such a reduction is

consistent with the applicable policy statements issued by the Sentencing Commission. In the

Commentary to U.S.S.G. § 1B1.10, the Sentencing Commission emphasized that the decision to

grant a sentence reduction authorized by retroactive amendments is discretionary and that

retroactivity does not entitle a defendant to a reduced term of imprisonment as a matter of right.

3.     The full record before the Court reflects a defendant who was held a leadership role in an

extensive drug distribution conspiracy, regularly possessed firearms during and in relation to his drug



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trafficking crimes, and conducted drug transactions near schools and playgrounds, but who also has

displayed good conduct and some rehabilitative potential while in prison.

4.     Upon consideration of the sentencing factors set forth in 18 U.S.C. § 3553(a), the possible

threat to public safety posed by the early release of a person with this defendant’s criminal

predispositions, and this defendant’s post-sentencing conduct, the court finds:

       a.      That the defendant should receive some benefit from the retroactive application of

               Amendment 706, but that a reduction to 292 months is inappropriate; and

       b.      That a sentence of 346 months is adequate, but no greater than necessary, to

               accomplish the objectives of 18 U.S.C. § 3553(a), while a further reduction would

               frustrate those objectives;1 and

       c.      That this sentence is within the amended guidelines range.

       An appropriate Order shall issue separately.

                                                  Signed: August 11, 2008




       1
        The Court notes that it is not required under Fourth Circuit case law to undertake an
exhaustive analysis of all of the § 3553(a) factors in this Order. See United States v. Legree, 205
F.3d 724, 728-29 (4th Cir. 2000).

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